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                     UNITED STATES COURT OF INTERNATIONAL TRADE
                          BEFORE GARY S. KATZMANN, JUDGE


                                                  )
 HISTEEL CO., LTD.                                )
                                   Plaintiff,     )
                                                  )
                       v.
                                                  )
 UNITED STATES,                                   )
                                   Defendant,     )
                                                      Court No. 22-00142
                                                  )
                       and                        )
 NUCOR TUBULAR PRODUCTS INC.,                     )
                                                  )
                                   Defendant-     )
                                   Intervenor.    )
                                                  )


                                          ORDER

    Upon consideration of the July 7, 2022, motion of Dong-A-Steel Co., Ltd.

(“DOSCO”) to intervene as a matter of right as Plaintiff-Intervenor in the above-designated

matter; Defendant’s July 28, 2022, Comments in Opposition to DOSCO’s Motion;

DOSCO’s August 11, 2022, Reply, and all other pertinent papers, it is hereby

    ORDERED that DOSCO’s motion to intervene is granted.


                                                 Signed: ___________________________
                                                                   Judge

Dated: ___________________
         New York, NY
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                         UNITED STATES COURT OF INTERNATIONAL TRADE
                              BEFORE GARY S. KATZMANN, JUDGE


                                                     )
    HISTEEL CO., LTD.                                )
                                      Plaintiff,     )
                                                     )
                            v.
                                                     )
    UNITED STATES,                                   )
                                      Defendant,     )
                                                         Court No. 22-00142
                                                     )
                           and                       )
    NUCOR TUBULAR PRODUCTS INC.,                     )
                                                     )
                                      Defendant-     )
                                      Intervenor.    )
                                                     )


                        DOSCO’S REPLY TO DEFENDANT’S JULY 28, 2022,
                    COMMENTS IN OPPOSITION TO DOSCO’S MOTION TO INTERVENE

       In its July 28, 2022, comments, Defendant has asked the Court to deny Dong-A-Steel

Co., Ltd.’s (“DOSCO’s”) motion to intervene in this proceeding.1 According to

Defendant, DOSCO’s request to participate as Plaintiff-Intervenor did not meet the

requirements of Article III standing or Rule 24(a)(1) of this Court to permit intervention as

of right.2 However, Defendant is mistaken and has identified an incorrect standard for

intervention in this proceeding.

        A.    DOSCO Has Article III Standing to Intervene

       In order for a party to intervene in an appeal, the party must demonstrate that it has

Article III standing. To establish Article III standing for intervention, a party must


1
  See Defendant’s July 28, 2022, Comments in Opposition to DOSCO’s Motion to
Intervene, ECF No. 36 (hereinafter “Defendant’s Comments in Opposition”).
2
    See id. at 1.
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demonstrate either “independent constitutional standing or… ‘piggyback standing’” in the

proceeding.3 Defendant claims that DOSCO’s motion failed to establish Article III

standing to permit intervention in this proceeding.4 However, Defendant’s analysis

focused only on whether DOSCO demonstrated independent constitutional standing and

failed to address the standard for ‘piggyback’ standing.5

       To establish ‘piggyback standing,’ a party seeking to intervene must only seek “the

same relief sought by an existing party to the case.”6 In that regard, this Court has

explained that as long as an intervenor plans to litigate the same issue raised by a party to

the appeal, an intervenor will be found to seek the same relief as that party to the appeal.7




3
 See, e.g., N. Am. Interpipe, Inc. v. United States, 519 F. Supp. 3d 1313, 1322 (Ct. Int’l
Trade 2021). See also PrimeSource Bldg. Prod., Inc. v. United States, 494 F. Supp. 3d
1307, 1320 (Ct. Int’l Trade 2021) (Judge Baker concurring) (explaining that “Town of
Chester, as recently clarified by Little Sisters of the Poor, thus definitively resolved the
persistent circuit split noted by the CIT in Canadian Wheat. Article III does not require a
putative intervenor—whether as of right or permissive—to demonstrate independent
constitutional standing, so long as it seeks the same relief as one of the parties to the
case.”).
4
    See Defendant’s Comments in Opposition at 3.
5
 See id. at 3 (solely discussing whether DOSCO demonstrated it would suffer injury to
establish independent constitutional standing).
6
    See N. Am. Interpipe, Inc., 519 F. Supp. 3d at 1322.
7
  See id. (“{T}he Pipe Producers made clear that {t}he only relief that Proposed
Defendant-Intervenors seek is for Plaintiff's {i.e., Evraz’s} line pipe {exclusion} claims to
be denied. As the government's since-filed answer also seeks rejection of those claims, the
Pipe Producers have satisfied their Article III burden of establishing their piggyback
standing”) (internal quotation marks and citations omitted). See also PrimeSource Bldg.
Prod., Inc., 494 F. Supp. 3d at 1320 (Judge Baker, concurring) (stating that in Little Sisters
of the Poor, the Supreme Court explained that because both the Federal Government and
the nuns asked the court to dissolve the injunction against the religious exemption, the
nuns sought the same relief as the government and did not need independent constitutional
standing).


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DOSCO’s motion sought intervention on the side of the Plaintiff, and explained that it

intends to litigate the issue raised by Plaintiff regarding Commerce’s improper application

of the differential pricing analysis.8 Since DOSCO plans to support Plaintiff’s litigation of

the differential pricing analysis issue, DOSCO has met the requirements for ‘piggyback’

standing and, therefore, has established Article III standing for intervention.

        B.    DOSCO Qualifies for Intervention as of Right under Rule 24(a)(1)

       Rule 24(a)(1) of this Court explains that intervention as a matter of right exists when:

             (a) Intervention of Right. On timely motion, the court must permit
             anyone to intervene who:
                   (1) is given an unconditional right to intervene by a federal
                   statute….9

DOSCO has sought intervention as of right pursuant to 28 U.S.C. § 2631(j)(1)(B), which

establishes the right to intervene as a matter of right to an interested party who was a party

to the proceeding in connection with which the matter arose in a civil action under section

516A of the Tariff Act.10 Defendant asserts that DOSCO did not meet the requirements to

intervene as of right under Rule 24(a)(1) of this Court, because Defendant claims that

28 U.S.C. § 2631(j)(1)(B) also requires parties to demonstrate they would be “adversely

affected or aggrieved by a decision in a civil action pending in the Court of International

Trade.”11 Defendant is incorrect.

       As this Court explained in Vivitar Corp. v. United States:



8
 See DOSCO’s July 7, 2022, Motion to Intervene, ECF No. 26 at 2. See also Plaintiff’s
June 8, 2022, Complaint, ECF No. 18 at 3-4.
9
    CIT Rule 24(a)(1).
10
     See DOSCO’s July 7, 2022, Motion to Intervene, ECF No. 26 at 1-2.
11
     See Defendant’s Comments in Opposition at 4.


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            28 U.S.C. § 2631(j) provides for both permissive intervention as well
            as intervention as a matter of right, (see 28 U.S.C. § 2631(j)(1)(A)–
            (C)). Because the case presented does not fall within the exceptions
            listed in the statute, it arises under the general provision of 2631(j)
            which requires that a “person would be adversely affected or aggrieved
            by a decision in a civil action pending in the Court of International
            Trade.” This general provision is permissive because intervention is
            allowed only “by leave of court.”12

Since DOSCO has sought intervention as of right under 28 U.S.C. § 2631(j)(1)(B) and not

permissive intervention under 28 U.S.C. § 2631(j), it is not required to demonstrate that it

would be “adversely affected or aggrieved by a decision” by this Court in order to

intervene in this action. Instead, DOSCO simply has to establish that it is an interested

party who was a party to the proceeding in connection with which the matter arose as

required by 28 U.S.C. § 2631(j)(1)(B).

       Notably, the case cited by the Defendant in support of its position, USEC Inc. v

United States, is consistent with the Court’s explanation in Vivitar Corp.13 In that regard,

the portion of the USEC Inc. decision cited by Defendant begins with a general description

of the requirements under Rule 24 of the Court and 28 U.S.C. § 2631(j), which includes

provisions for both permissive intervention and intervention as of right.14 But when the

Court addresses the party’s ability to intervene as of right pursuant to 28 U.S.C.

§ 2631(j)(1)(B), it stated that because the party seeking intervention may be considered an

interested party under the relevant statutes, it was “entitled to intervene as of right” as an




12
     Vivitar Corp. v. United States, 585 F. Supp. 1415, 1419 n.5 (Ct. Int’l Trade 1984).
13
     See Defendant’s Comments in Opposition at 4.
14
     See USEC Inc. v. United States, 259 F. Supp. 2d 1310, 1329 (Ct. Int’l Trade 2003).


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interested party who was a party to the proceeding in connection with which the matter

arose under.15

       Since this appeal involves judicial review of a final determination of an annual

antidumping duty administrative review by the Department of Commerce pursuant to

Section 516A of the Tariff Act,16 and DOSCO is an interested party that participated in the

underlying administrative review,17 DOSCO has met the criteria to intervene pursuant to

28 U.S.C. § 2631(j)(1)(B). In these circumstances, DOSCO may intervene as of right in

this appeal under Rule 24(a)(1) of this Court.18

        C.    This Court Has Granted Intervention
              as of Right to Similarly Situated Parties

       In the appeal of the final results of the sixth administrative review of the antidumping

duty order on Certain Oil Country Tubular Goods from Korea by the Department of

Commerce (Ct. No. 22-138), SeAH Steel Company (“SeAH”) sought to intervene as of

right on the side of the Plaintiff. In that regard, SeAH and Hyundai Steel Company were




15
     Id. at 1331.
16
     See, e.g., Plaintiff’s Complaint at 1.
17
  See Defendant’s Comments in Opposition at 1-2 (admitting that DOSCO participated as
a mandatory respondent during the underlying review). See also DOSCO’s Motion to
Intervene at 1 (explaining that DOSCO “foreign producer of heavy walled rectangular
welded carbon steel pipes and tubes subject to the Department’s review, and participated as
an interested party in the administrative review within the meaning of 19 U.S.C.
§ 1677(9)(A).”).
18
  It should be noted that there is no dispute that DOSCO’s motion for intervention was
timely filed. See Defendant’s Comments in Opposition (which does not argue that
DOSCO’s motion to intervene was not timely filed). See also DOSCO’s Motion to
Intervene at 2 (“The Complaint of Plaintiff HiSteel Co., Ltd. was filed on June 8, 2022.
Therefore, this application is timely pursuant to Rule 24(a) (which normally requires that
motions to intervene be filed within 30 days of service of the Complaint)”).


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the mandatory respondents in the underlying administrative review. SeAH did not appeal

the final determination, but Hyundai Steel Company did. SeAH then filed a motion to

intervene to support Hyundai’s Steel Company’s litigation of one issue.19

       The Government opposed SeAH’s intervention in that case, making similar arguments

as Defendant has made in this case.20 SeAH responded to the Government’s opposition,

explaining that it had met the full requirements to intervene as a matter of right because it

had ‘piggy-back’ standing to establish Article III standing and was an interested party that

participated in the underlying administrative proceeding to satisfy intervention pursuant to

28 U.S.C. § 2631(j)(1)(B).21 Accordingly, the Court granted SeAH’s intervention in that

appeal.22 Since DOSCO has also demonstrated that it has met the requirements for ‘piggy-

back’ Article III standing and intervention pursuant to 28 U.S.C. § 2631(j)(1)(B), the Court

should grant DOSCO’s motion to intervene in this action.




19
     See SeAH’s June 9, 2022, Motion to Intervene, Ct. No. 22-138, ECF. No 30 at 2.
20
  See Government’s June 30, 2022, Comments in Opposition to SeAH’s Motion to
Intervene, Ct. No. 22-138, ECF No. 44.
   It should be noted that while the Government in Court No. 22-138 and in this action
asserted that the motions to intervene should be denied because the parties did not establish
Article III standing or meet the requirements to intervene as of right under Rule24(a) of
this Court, the specific arguments differed slightly. Nevertheless, as explained above, the
Government’s arguments in this case also incorrectly stated the relevant standard for
intervention and do not provide a basis to deny DOSCO’s intervention as of right in this
action.
21
  See SeAH’s July 6, 2022, Attachment to Motion for Leave to File Reply to Defendant’s
Comments in Opposition to SeAH’s Motion to Intervene, Ct. No. 22-138, ECF No. 48.
22
 See Court’s July 29, 2022, Order Granting SeAH’s Motion to Intervene, Ct. No. 22-138,
ECF No. 50.


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     Defendant’s opposition to DOSCO’s intervention has no support in the law, the

Court’s rules, or the Court’s previous decisions. Accordingly, we respectfully request that

the Court disregard Defendant’s comments and grant the motion for DOSCO to intervene

as of right as Plaintiff-Intervenor in this proceeding.

                                                Respectfully submitted,

                                                /s/Jeffrey M. Winton

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August 11, 2022




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